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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Jonathan J. Tomon
                                 Plaintiff,
v.                                                     Case No.: 1:18−cv−04751
                                                       Honorable Manish S. Shah
The CBE Group, Inc.
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 6, 2018:


        MINUTE entry before the Honorable Manish S. Shah: At plaintiff's request, the
status hearing on 9/7/18 is stricken and reset to 10/3/18 at 9:30 a.m. Notices mailed. (psm,
)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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